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                    EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:18-cv-25337-KMM
   ANTONIO CABALLERO,

           Plaintiff,

   v.

   FUERZAS ARMADAS REVOLUCIONARIAS
   DE COLOMBIA, et al.,

          Defendants.


                             AFFIDAVIT OF LEON N. PATRICIOS
                          PURSUANT TO SECTION 56.27(4), FLA. STAT.

    STATE OF FLORIDA                             )
                                                 )    SS
    COUNTY OF MIAMI-DADE                         )


          I, Leon N. Patricios as Attorney of Record for the Plaintiff/Levying Creditor, Antonio

   Caballero ("Caballero"), hereby affirm under oath the following:

          1.       I am a resident of Miami-Dade County, Florida. I am over 18 years of age.

          2.       I am an attorney at the law firm of Zumpano Patricios, P.A., and our firm represents

   Caballero in the above sty led action.

          3.       I have personal knowledge of the facts stated herein.

          4.       On May 20, 2020, the Honorable Michael K. Moore of the United States District

   Court for the Southern District of Florida entered a final judgment in favor of Caballero and against

   the Judgment Debtors in the amount of $46,729,667.00, which was trebled to $140,189,001.00

   pursuant to Section 18 U.S.C. § 2333, and which included post-judgment interest at the rate of

   0.15% from May 20, 2020, the date of the final judgment (the "Final Judgment").
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          5.      To date, the outstanding balance of the trebled damages awarded to Caballero in

   the Final Judgment is $121,491,252.99-calculated, without interest-as the amount of the debt

   to be levied upon.

          6.      The real property that is the subject of the Writ of Execution issued by the Clerk of

   Court on May 31, 2022 (7043 Fisher Island Dr, Unit: 7043, Miami Beach, FL 33109-0064, Folio

   No. 02-4210-018-0170 (hereinafter the "Subject Property")) is valued by the Miami-Dade

   Property Appraiser at an estimated market value of $11,814,306.

          7.      Per the information available for the Subject Property on the website for the Miami-

   Dade County Office of the Property Appraiser the purported owner of the Subject Property is

   Planet 2 Reaching, Inc., a Delaware corporation, whose address is c/o Cosme de la Torriente, P.A.

   155 SW 25th Road, Miami, Florida 33129.

          8.      When our law firm searched the name of Planet 2 Reaching, Inc. by using the

   function to search for a business entity on the website for the Delaware Department of State,

   Division of Corporations (corp.delaware.gov) to see if any records were found for Planet 2

   Reaching, Inc., a message appeared stating that the requested function for Planet 2 Reaching, Inc.

   was unable to be performed and to contact the Division of Corporations for further assistance.

   Subsequently, the undersigned contacted the Delaware Division of Corporations and spoke with a

   representative who informed him that the records for Planet 2 Reaching, Inc. (file# 6167767) are

   unavailable to the public and that service of process on such entity may be completed by serving

   the Delaware Secretary of State. Additionally, our law firm searched the name of Planet 2

   Reaching, Inc. on the website for the Florida Department of State, Division of Corporations

   (Sunbiz.org) to see if any records were found for Planet 2 Reaching, Inc. as a registered foreign




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   entity in Florida, such search returned no records for Planet 2 Reaching, Inc. as a registered foreign

   entity in Florida.

           9.      Our law firm has reviewed the Official Records of the Miami-Dade County Clerk

   of Court (i.e., the records of the clerk of the court of the county where the Subject Property is

   situated per Fla. Stat. § 56.27(4)(a)), and, in an abundance of caution, also reviewed the following

   additional online public records of-(1) the Miami-Dade County Tax Collector; (2) the Florida

   Department of State, Division of Corporations; (3) the Florida Secured Transaction Registry; and

   (4) the Florida Department of Revenue. Based upon my review of such records, I believe that the

   following information is true and correct:

                a. There appear to be no judgment liens recorded against the Subject Property.

                   However, the following notices regarding claims of lien are recorded against the

                   Subject Property:

                         i.    Claim of Lien for Assessments of PALAZZO DEL SOL/DELLA LUNA
                              AT FISHER ISLAND CONDOMINIUM ASSOCIATION, INC., whose
                              address is 7000 Fisher Island Dr., Fisher Island FL 33109, for
                              approximately $54,400.76. See Claim of Lien for Assessments, Miami-
                              Dade County Clerk of the Courts, County Recorder's Official Records,
                              Clerk's File Number 2019 R 256288, April 25, 2019; see also, Amended
                              Claim of Lien for Assessments, Miami-Dade County Clerk of the Courts,
                              County Recorder's Official Records, Clerk's File Number 2019 R 298886,
                              May 14, 2019.

                        ii.   Claim of Lien of PALAZZO DEL SOL/DELLA LUNA AT FISHER
                              ISLAND CONDOMINIUM ASSOCIATION, INC., whose address is 7000
                              Fisher Island Dr., Fisher Island FL 33109, for approximately $580,994.82.
                              See Claim of Lien, Miami-Dade County Clerk of the Courts, County
                              Recorder's Official Records, Clerk's File Number 2022 R 179247, March
                              3, 2022.

                        ni.   Notice of Lis Pendens (regarding relief sought as to the Subject Property to
                              foreclose a claim of lien) of PALAZZO DEL SOL/DELLA LUNA AT
                              FISHER ISLAND CONDOMINIUM ASSOCIATION, INC., whose
                              counsel at the time such notice was recorded (i.e., GURSKY RAGAN,
                              P.A.) was subsequently substituted with SACHS SAX CAPLAN, P.L.,


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                            6111 Broken Sound Parkway NW, Suite 200, Boca Raton, FL 33487. See
                            Notice of Lis Pendens, Miami-Dade County Clerk of the Courts, County
                            Recorder's Official Records, Clerk's File Number 2022 R 194483, March
                            7, 2022; see also, Stipulation and Consent for Substitution of Counsel,
                            PALAZZO DEL SOL/DELLA LUNA AT FISHER ISLAND
                            CONDOMINIUM ASSOCIATION, INC VS PLANET 2 REACHING, INC
                            ET AL, Case No. 2022-004165-CA-01 (Fla. 11th Jud. Cir. Ct., Miami-Dade
                            Cnty. May 17, 2022), Doc. No. 34.

                b. There is no mortgage recorded against the Subject Property.

                c. There are no financing statements recorded against the Subject Property.

                d. There appear to be no tax warrants recorded against the Subject Property. However,

                     a Notice of Application for Tax Deed of MIKON FINANCIAL SERVICES INC

                     AND OCEAN BANK, holder of Certificate number 8695 issued on June 1, 2019,

                     is recorded against the Subject Property. See Notice of Application for Tax Deed,

                     Miami-Dade County Clerk of the Courts, County Recorder's Official Records,

                     Clerk's File Number 2021R630276, August 25, 2021.

                e. There are no other liens (or notices regarding other possible liens) recorded against

                     the Subject Property.

                f.   The   Subject    Property   1s   subject   to   all   assessments   levied   by   the

                     Condominium/Homeowner Association.

                g. Real property taxes are owed to Miami-Dade County Tax Collector for tax year

                     2021 in the approximate amount of $262,837.70 (if paid between June 30, 2022

                     through August 31, 2022). Such taxes are payable to Miami-Dade Tax Collector,

                     200 NW 2nd Avenue, Miami, FL 33128.

          10.        Caballero does have another levy in process but believes in good faith that the total

   value of the property under execution does not exceed the outstanding amount to be levied upon.




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   FURTHER SAYETH AFFIANT NAUGHT


                                                              Leon N. Patricios

    STATE OF FLORIDA                                         )
                                                             )          SS
    COUNTY OF MIAMI-DADE                                     )


   SWORN TO AND SUBSCRIBED before me by means o~hysical presence or D online
   notarization this June ;2,, "~ 2022 by Leon N. Patricios. He is personally known to me or has
   produced                                  as identification.
        ~~                  .
   NOTARYP       ~~OFFLORIDA
                                                              /
   My Commission Expires: G6      q 137'f5


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                                  i'iii:.          . •J Notary Public· Stat' of Florida
                                  \~               ~f     Commission fl GG 97J79S
                                     ···.,~.f,\k' ' My    Comm. Expires Mar 26 202 .,
                                                  Bonded through National Nota,.Y Assn.




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          Mailing List (for the certified mailings required by section 56.21, Fla. Stat.)
            1. FARC-EP
               c/o Juvenal Ovidio Ricardo Palmera Pineda a/k/a/ "Simon Trinidad"
               Member ofFARC-EP
               BOP Register No. 27896-016
               USP Florence ADMAX
               5880 Hwy 67 South
               Florence, CO 81226


            2. FARC-EP
               c/o Juvenal Ovidio Ricardo Palmera Pineda a/k/a/ "Simon Trinidad"
               Member of FARC-EP
               BOP Register No. 27896-016
               USP Florence ADMAX
               U.S. Penitentiary
               P.O. Box 8500
               Florence, CO 81226


            3. NDVC
               c/o Diego Leon Montoya Sanchez
               Member of NORTH VALLEY CARTEL
               BOP Register No. 04171-748
               FCI Petersburg Medium
               Federal Correctional Institution
               1060 River Road
               Hopewell, VA 23860


            4. NDVC
               c/o Diego Leon Montoya Sanchez
               Member of NORTH VALLEY CARTEL
               BOP Register No. 04171-748
               FCI Petersburg Medium
               Federal Correctional Institution
               P.O. Box 1000
               Petersburg, VA 23804

            5. PALAZZO DEL SOL/DELLA LUNA AT FISHER ISLAND CONDOMINIUM
               ASSOCIATION, INC., 7000 Fisher Island Dr., Fisher Island, FL 33109

            6. SACHS SAX CAPLAN, P.L., on behalf of PALAZZO DEL SOL/DELLA LUNA
               AT FISHER ISLAND CONDOMINIUM ASSOCIATION, INC., at: 6111 Broken
               Sound Parkway NW, Suite 200, Boca Raton, FL 33487



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                 7. MIKON FINANCIAL SERVICES INC c/o its Registered Agent, Richard Capote,
                    at: 6405 N.W. 36 ST. STE 125, Miami, FL 33166

                 8. OCEAN BANK c/o its Registered Agent, Interamerican Corporate Services LLC,
                    at: 2525 Ponce de Leon Blvd, Suite 1225, Coral Gables, FL 33134

                 9. Miami-Dade County Tax Collector, 200 NW 2nd Avenue, Miami, FL 33128

                 10. Planet 2 Reaching, Inc., 7043 Fisher Island Dr., Unite 7043, Miami Beach, FL
                     33109-0064

                 11. Planet 2 Reaching, Inc. c/o Secretary of State for Delaware, 401 Federal Street,
                     Suite 4, Dover, DE 19901 1

                 12. Planet 2 Reaching, Inc. c/o Cosme de la Torriente, P.A. 155 SW 25th Road, Miami,
                     FL 33129

                 13. Howard Srebnick, BLACK SREBNICK, P.A., on behalf of Raul Gorrin, at: 201
                     South Biscayne Blvd., Suite 1300, Miami, Florida 33131

                 14. Ed Wilson, Venable, LLP, on behalf of Raul Gorrin, at: 600 Massachusetts Avenue,
                     NW Washington, DC 20001




   1
       Pursuant to the requirements of the Secretary of State of Delaware for substitute service.
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